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               EXHIBIT C
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    K          DDP LKD (Dawn's Living Kidney Do...

               Dawn Dorland ► DDP LKD (Dawn's Living                  ...
     Ul        Kidney Donation)
               July 7, 2015 at 9:54 AM • El

     For those who are interested, I'm happy to share a
     letter here that I composed to our Portland recipient
     (the woman who received my recipient's wife's
     kidney), which got shared widely around the UCLA
     transplant team:
     Dear Recipient,
     My name is Dawn Dorland. I'm a 35-year-old white
     female, and I live with my husband in LA.
     In 2009 I read my first article about living kidney
     donation, and in the years since, I have been
     constantly reminded--whether triggered by my
     reading (I am a writer), or through the stories of people
     I know--of the harrowing experience of dialysis and
     the dire need in our country for kidneys. I believe that I
     knew, from the moment I first became aware of the
     possibility of donating one of my kidneys, that I would
     one day find a way to do this.
     Once I had all the information, I was motivated to
     donate at a time when, due to medical advances and
     the existence of the National Kidney Registry—
     especially the leaps they've made matching
     compatible strangers through paired exchange--!
     stood to make an maximum impact in others' lives with
     only minimal risk to myself. Personally, my childhood
     was marked by trauma and abuse; I didn't have the
     opportunity to form secure attachments with my family
     of origin. A positive outcome of my early life is
     empathy, that it opened a well of possibility between
     me and strangers. While perhaps many more people
     would be motivated to donate an organ to a friend or
     family member in need, to me, the suffering of
     strangers is just as real.
     I can't tell you how happy I am that my donation
     eventually—two organs and four surgeries later-
     resulted in your receiving [REDACTED]'s kidney.
     Throughout my preparation for becoming a donor,
     which spanned precisely eight months from my first
     testing to the date of our surgeries, I was most excited
     about the recipient who would come off of the
     deceased donor list and end our chain. I focused a
     majority of my mental energy on imagining and
     celebrating *you*.
     My gift, which begat [REDACTED]'s, trails no strings.
     You are deserving of an extended and healthy life
     simply for being here.
     Please know that my husband and I would love to know
     more about you, and perhaps even meet you one day.
     But I accept any level of involvement or response from
     you, even if it is none.
     Thank you for reading this letter, and be well.
     Kindly,
     Dawn


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     © Audrey Anne and 24 others

     Seen by 13

                Erin Loomis
               That was lovely, Dawn. ©1



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                                                                                   DORLAND00150
